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Robert V. Gonzales
PO BOX 7804
SLT, CA 96158
530-523-3822
                                                                       07/05/2024
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                          ✔PRO PER G RETAINED
  G FPD G APPOINTED G CJA G

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER:
 Robert V. Gonzales
                                                                                  8:23-cv-01788-JVS(KESx)
                                                  PLAINTIFF(S)
                                 v.
 The Regents of the University of California, Et. Al.
                                                                  EX PARTE APPLICATION AND DECLARATION
                                                                       FOR EXTENSION OF TIME TO FILE
                                                DEFENDANT(S).                     APPEAL

          Judgment in the above-entitled action was entered on 10/3/23 11/29/23; etc                  , and pursuant
                                                                           Date Judgment entered
           to F.R.A.P. 4(a), the last day to file the Notice of Appeal is 12/3/23, 1/29/24; etc                   .


          IT IS HEREBY REQUESTED that the time for filing the Appeal in the above-entitled case be
          extended to: July 7th, 2024           .

          I represent that the extension herein sought is within the jurisdiction of the District Court
          pursuant to the Federal Rules of Appellate Procedure. I have notified opposing counsel pursuant
          to F.R.Civ.P.5 and Local Rule 7-19.1 and counsel has indicated that there would be
          G an objection G no objection to the granting of this application.

          If opposing counsel could not be contacted, please explain the circumstances below. Attach a
          separate affidavit, if necessary.

          Another element of the appeal includes review of a motion for a cease and desist order for an avoidant defense
          attorney for impeding and impairing my F. Rule 26(b) and other meet and confer efforts, using dirty tricks to
          project his avoidance back at me, and inflaming damage to my focus and motivation.



          I declare under penalty of perjury that the above statements are true and correct to the best of my
          knowledge and belief.

                     July 5th, 2024
                          Date                                                                Name of A
                                                                                                      Attorney


                                                                                              Party Rep
                                                                                                    Represented

NOTE: Form A-13 ORDER: Order on Ex Parte Application and Declaration for Extension of Time to File Appeal
MUST be submitted with this Ex Parte Application.


                                      EX PARTE APPLICATION AND DECLARATION FOR ORDER
                                                EXTENDING TIME TO FILE APPEAL
A-13 (01/08)
